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AO 245B (Rev. 05/15/2018) Judgment in a Criminal Petty Case (Modified)                                                             Page 1 of 1



                                    UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF CALIFORNIA

                     United States of America                              JUDGMENT IN A CRIMINAL CASE
                                v.                                         (For Offenses Committed On or After November 1, 1987)


                         Jeronimo Fernandez-Ferrer                         Case Number: 19CR3668-KSC

                                                                           FEDERAL DEFENDERS
                                                                           Defendant’s Attorney


REGISTRATION NO. 87771298

THE DEFENDANT:
☒ pleaded guilty to count(s) 1 of the Information (Misdemeanor)
☐ was found guilty to count(s)
   after a plea of not guilty.
   Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

Title & Section                   Nature of Offense                                                         Count Number(s)
8:1325(a)(1)                      Improper Attempted Entry by an Alien(Misdemeanor)                         1


 ☐ The defendant has been found not guilty on count(s)
  Count(s)                                                                  dismissed on the motion of the United States.

                                               IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of:
                                                    TIME SERVED
 ☒ Assessment: $10 WAIVED
 ☒ Fine: WAIVED
 []Court recommends USMS, ICE or DHS or other arresting agency return all property and all documents in
 the defendant’s possession at the time of arrest upon their deportation or removal.

     IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and
United States Attorney of any material change in the defendant's economic circumstances.

                                                                         November 6, 2020
                                                                         Date of Imposition of Sentence



                                                                         HONORABLE KAREN S. CRAWFORD
                                                                         UNITED STATES MAGISTRATE JUDGE
